     Case 1:09-cr-00187-JL   Document 223   Filed 08/20/10   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                           Criminal No. 09-CR-00187/09-JL

Richard Woods


                                O R D E R


     The defendant’s motion for identification of evidence to be

used in Government’s case-in-chief (document no. 203) is DENIED

in part for the reasons stated in the United States Attorney’s

objection, but granted in part.      Despite the “complex track”

designation, this case is not particularly complex, and the

discovery provided is not particularly voluminous.            Exercising

its discretion and supervisory authority, however, the court

orders the United States Attorney provide notice to the

defendants no later than five calendar days before opening

statements, which audio recorded materials it plans to present in

its case-in-chief.    Prior to jury selection, the United States

Attorney shall provide greater specificity with respect to calls

30 minutes or longer in length.      The introduction at trial of any

audio evidence not so designated will require prior leave from

the court.
      Case 1:09-cr-00187-JL   Document 223   Filed 08/20/10   Page 2 of 2




      SO ORDERED.




                                   Joseph N. Laplante
                                   United States District Judge


Dated:   August 20, 2010

cc:   All counsel of record




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